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 5                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                            Central District of California
                                                                            BY fisherl    DEPUTY CLERK
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                              UNITED STATES BANKRUPTCY COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
                                SAN FERNANDO VALLEY DIVISION
11
12
     In re:                                           Case No.: 1:24-bk-11323-VK
13
                                                      Chapter 11
14   IRWIN NATURALS, et al.,
15                                                    ORDER SETTING HEARING ON STATUS
     Affects all Debtors,                             OF CHAPTER 11 CASES AND REQUIRING
16                                                    REPORT ON STATUS OF CHAPTER 11
                                                      CASES
17
                                                      Date: October 31, 2024
18                                                    Time: 1:00 p.m.
19              Debtors and Debtors in Possession.    Place: Courtroom 301
                                                             21041 Burbank Blvd.
20                                                           Woodland Hills, CA 91367

21
22
              PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 105(d), the Court will conduct a
23
     status conference in the above captioned cases at the place and time set forth above, which status
24
     conference may be continued from time to time, without further notice. The purpose of the
25
     conference is to further the expeditious and economical resolution of the cases.
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27
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 1          CERTAIN PARTIES ARE REQUIRED TO ATTEND, AS SET FORTH BELOW. ALL
 2   INTERESTED PARTIES ARE INVITED TO ATTEND, BUT NEED NOT DO SO.
 3          PLEASE TAKE FURTHER NOTICE that, based upon the Court’s records and evidence
 4   presented at the conference, the Court may take any of the following actions at the conference
 5   (or at any continued conference) without further notice:
 6          1.      Dismiss one or more of the cases;
 7          2.      Convert one or more of the cases to one under another chapter;
 8          3.      Order the appointment of a chapter 11 trustee;
 9          4.      Set deadlines for filing of a proposed plan and disclosure statement by the debtors
10                  or any other interested party;
11          5.      Fix the scope, format and service of the notices to be provided regarding the
12                  various matters to be considered in the cases;
13          6.      Provide that the hearing on approval of the disclosure statement may be combined
14                  with the hearing on confirmation of the plan;
15          7.      Set a deadline for confirming a plan;
16          8.      Set deadlines for compliance with reporting and other chapter 11 debtor in
17                  possession requirements;
18          9.      Set deadlines for filing proofs of claim, objections to claims and/or requests for
19                  payment of administrative expenses;
20          10.     Set deadlines for assuming, assuming and assigning or rejecting executory
21                  contracts and unexpired leases;
22          11.     Adopt special procedures for managing adversary proceedings, contested matters
23                  and such other matters as may aid in the process of the cases; and/or
24          12.     Refer matters to mediation.
25          PLEASE TAKE FURTHER NOTICE that, whether the debtors files their schedules and
26   statements using the 100 series (for individual debtors) or the 200 series (for non-individual
27   debtors), the forms are mandatory and must be executed under penalty of perjury. Any
28   disclaimers, reservations, caveats, general notes or exceptions that the debtors or their counsel




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 1   may append to or include in such forms are ineffective to alter the duty of care or the level of
 2   detail required in connection with the preparation of these forms and do not create or preserve
 3   any rights that would not otherwise have existed in the absence of such language.
 4          IT IS HEREBY ORDERED that the debtors and the debtors’ counsel must be present at
 5   the status conference; so should counsel for the official committee of unsecured creditors (if a
 6   committee has been appointed) and counsel for the United States Trustee. Any other interested
 7   parties may also appear and address the items described above.
 8          IT IS FURTHER ORDERED that at least fourteen (14) days before the status
 9   conference, the debtors must: (a) file with the Court a Case Status Conference Report and
10   (b) serve the Case Status Conference Report on the United States Trustee, all secured
11   creditors, the official committee of unsecured creditors and its counsel (or on the twenty
12   largest unsecured creditors if no committee has been appointed), and all other official
13   committees. Unless the Court orders otherwise upon request, the debtors must use the forms of
14   bar date order and notice posted on the Court’s website, located at www.cacb.uscourts.gov,
15   under “Local Rule Forms,” F 3003-1.ORDER.BARDATE and F 3003-1.NOTICE.BARDATE.
16          IT IS FURTHER ORDERED that “Judge’s Copies” must be served on Judge Kaufman
17   pursuant to Local Bankruptcy Rule 5005-2(d) and section 2-02 of the Central Guide. The
18   debtors must timely serve “Judge’s Copies” in accordance with Judge Kaufman’s procedures as
19   set forth on the website for the United States Bankruptcy Court, Central District of California at
20   https://www.cacb.uscourts.gov.
21          IT IS FURTHER ORDERED that the Case Status Conference Report MUST BE
22   SUPPORTED BY EVIDENCE in the form of declarations and supporting documents and
23   should include the following:
24          1.      A brief answer to each of these questions:
25                  a. are the debtors in full compliance with 11 U.S.C. § 521, § 1107 and, if this is a
26                      small business case, § 1116, Rule 1007 of the Federal Rules of Bankruptcy
27                      Procedure, and all applicable guidelines established by the United States
28                      Trustee;




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 1                  b. are the debtors using cash that any party claims as its cash collateral and, if so,
 2                     on what date(s) did the debtors obtain an order authorizing the use of such
 3                     cash or the consent of such party;
 4                  c. what are the principal business, financial and legal disputes or problems to be
 5                     resolved in these cases;
 6                  d. when do the debtors anticipate resolving them; and
 7                  e. what is the best method to resolve those disputes or problems expeditiously
 8                     and cost-effectively.
 9          2.      Discuss any significant unexpired leases and executory contracts to which the
10                  debtors are a party and the debtors’ intentions with regard to these leases and
11                  contracts; and
12          3.      Proposed deadlines for filing:
13                  a. proofs of claim; and
14                  b. plan of reorganization (or liquidation) and disclosure statement.
15          IT IS FURTHER ORDERED that, no later than one week preceding the date of the
16   status conference, the debtors must file with the Court a proof of service regarding the Case
17   Status Conference Report.
18          IT IS FURTHER ORDERED that, Judge Kaufman has resumed in-person hearings.
19   However, parties in interest (and their counsel) may continue to participate in most hearings
20   remotely using ZoomGov audio and video.
21          MEMBERS OF THE PUBLIC AND THE PRESS MAY ONLY CONNECT TO THE
22   ZOOM AUDIO FEED, AND ONLY BY TELEPHONE. ACCESS TO THE VIDEO FEED BY
23   THESE INDIVIDUALS IS PROHIBITED. IN THE CASE OF A TRIAL OR EVIDENTIARY
24   HEARING, NO AUDIO ACCESS WILL BE PROVIDED. HOWEVER, MEMBERS OF THE
25   PUBLIC AND THE PRESS MAY OBSERVE SUCH PROCEEDINGS IN PERSON.
26          The following instructions will apply to the ZoomGov hearing:
27          Meeting Information: October 31, 2024
28          Meeting URL: https://cacb.zoomgov.com/j/1609152217




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 1         Meeting ID: 160 915 2217
 2         Password: 407212
 3         Join by Telephone: 1-669-254-5252 or 1-646-828-7666
 4         (1) The audio portion of each hearing will be recorded electronically by the Court and
 5            constitute its official record.
 6         (2) All persons (other than Court staff creating the official record of the hearing) are strictly
 7            prohibited from making any audio or video recording of the proceedings.
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24       Date: September 24, 2024

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